      Case 21-14486-abl       Doc 151     Entered 12/07/21 15:26:15        Page 1 of 4



 1   CLARISSE L. CRISOSTOMO, ESQ., Bar No. 15526
     Email: clarisse@nv-lawfirm.com
 2
     ATKINSON LAW ASSOCIATES LTD.
 3   376 E Warm Springs Rd, Suite 130
     Las Vegas, NV 89119
 4   Telephone: (702) 614-0600
     Attorney for Robert E. Atkinson, Trustee
 5

 6                           UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEVADA
 7
                                                          Case No. 21-14486-abl
 8
     In re:                                               Chapter 7
 9
     INFINITY CAPITAL MANAGEMENT, INC.                    NOTICE OF HEARING
10   dba INFINITY HEALTH CONNECTIONS;
                                                          and
11
                         Debtor.
12                                                        NOTICE OF ENTRY OF ORDER
                                                          SHORTENING TIME
13
                                                          Hearing Date:    December 22, 2021
14
                                                          Hearing Time:    3:00 p.m.
15
                                                          *** TELEPHONIC HEARING – see
16                                                        attached Order Shortening Time for details
17

18            PLEASE TAKE NOTICE that an Order Shortening Time was entered by this Court.
19   See attached. The Order provides a hearing date on the Trustee’s Motion titled MOTION TO
20   (I) APPROVE SALE OF CERTAIN ASSETS; (II) SET SALE/AUCTION PROCEDURES;
21   AND (III) SET AUCTION HEARING DATE [DE #145] (“Motion”).
22            NOTICE IS FURTHER GIVEN that the hearing on the Motion will be held before a
23   U.S. Bankruptcy Judge at the date and time identified in the Order Shortening Time. This
24   hearing will be held telephonically – see the Order Shortening Time for details. This
25   hearing may be continued from time to time without further notice to you.
26            NOTICE IS FURTHER GIVEN that a copy of the Motion is enclosed herewith, or it
27   may be obtained from either: (i) the Bankruptcy Clerk located on the Fourth Floor of the Foley
28   Federal Building, 300 Las Vegas Boulevard South Las Vegas, Nevada 89101; or (ii) by


                                                    -1-
      Case 21-14486-abl        Doc 151     Entered 12/07/21 15:26:15         Page 2 of 4



 1
     contacting the Trustee’s counsel at either (702) 614-0600 or by email at clarisse@nv-
 2
     lawfirm.com.
 3
               NOTICE IS FURTHER GIVEN that if you do not want the court to grant the relief
 4
     sought in the Motion, or if you want the court to consider your views, then you must file an
 5
     opposition with the court, and serve a copy to the Trustee no later than the date specified in the
 6
     Order Shortening Time. The opposition must state your position, set forth all relevant facts and
 7
     legal authority, and be supported by affidavits or declarations that conform to LR 9014(c).
 8
     If you object to the relief requested you must file a WRITTEN response to this pleading with
 9
     the court. You must also serve your written response on the person who sent you this notice.
10
     If you do not file a written response with the court, or if you do not serve your written
11   response on the person who sent you this notice, then:
12
           •   The court may refuse to allow you to speak at the scheduled hearing; and
13         •   The court may rule against you without formally calling the matter at the hearing.
14

15
     DATED: December 7, 2021                     ATKINSON LAW ASSOCIATES LTD.
16
                                                 By:         /s/ Clarisse Crisostomo
17                                                     CLARISSE L. CRISOSTOMO, ESQ.
                                                       Nevada Bar No. 15526
18
                                                       Attorney for Robert E. Atkinson, Trustee
19

20

21

22

23

24

25

26

27

28




                                                       -2-
           Case 21-14486-abl   Doc 151
                                   150   Entered 12/07/21 15:26:15
                                                          13:40:39         Page 3
                                                                                1 of 4
                                                                                     2

       

        
          
   
          
        
          
        
      Entered on Docket
          
___________________________________________________________________
    December 07, 2021
          
        
          
        
          
   
          &/$5,66(/&5,6267202(64%DU1R
        (PDLOFODULVVH#QYODZILUPFRP
          $7.,1621/$:$662&,$7(6/7'
       (:DUP6SULQJV5G6XLWH
          /DV9HJDV19
  
          7HOHSKRQH  
       Attorney for Robert E. Atkinson, Trustee
          
                               81,7('67$7(6%$1.5837&<&2857
                                            ',675,&72)1(9$'$
 

 
           ,QUH                                          &DVH1RDEO
                                                            &KDSWHU
        ,1),1,7<&$3,7$/0$1$*(0(17,1&               
           dba,1),1,7<+($/7+&211(&7,216                 25'(56+257(1,1*7,0(
                                                         )25+($5,1*
 
                               'HEWRU                      
                                                            >5(027,21726(//(&)@
                                                  
                                                     
                                                          +HDULQJ'DWH December 22, 2021
 
                                                             
                                                             +HDULQJ7LPH 3:00 p.m.
 

 
                7KH&RXUWFRQVLGHUHGWKH7UXVWHH¶V(;3$57(027,21)2525'(5
 
       6+257(1,1*7,0()25+($5,1*>'(@ WKH³OST Motion´ DQGJRRGFDXVH
 
       DSSHDULQJ
 
       
 
       
 
       


                                                    
          Case 21-14486-abl     Doc 151
                                    150     Entered 12/07/21 15:26:15
                                                             13:40:39         Page 4
                                                                                   2 of 4
                                                                                        2

      

 
      ,7,6+(5(%<25'(5('WKDWWKH2670RWLRQLV*5$17('
 
      ,7,6)857+(525'(5('WKDW
 
                  x 7KH7UXVWHH¶VPRWLRQHQWLWOHG027,2172 , $33529(6$/(2)
 
                      &(57$,1$66(76 ,, 6(76$/($8&7,21352&('85(6$1' ,,, 
 
                      6(7$8&7,21+($5,1*'$7(>'(@ WKH³Motion´ LVVHWIRU
 
                                                      December 22, 2021
                      KHDULQJRQVKRUWHQHGWLPHRQBBBBBBBBBBBBBBBBBBBBBBDW
 
                         3:00 p.m.
                      BBBBBBBBBBBBBBBBBBBB
 
                  x 3XUVXDQWWR$GPLQLVWUDWLYH2UGHUWKLVKHDULQJVKDOOEHKHDUG
 
                      WHOHSKRQLFDOO\3DUWLHVZLVKLQJWRDSSHDUDQGSDUWLFLSDWHDWWKLVKHDULQJVKDOO

                      FDOOWKHWROOIUHHFRQIHUHQFHOLQH   SDUWLFLSDQWFRGH 

                      DWOHDVWPLQXWHVSULRUWRWKHVFKHGXOHGKHDULQJWLPH

                  x $Q\REMHFWLRQVRURSSRVLWLRQVWRWKH0RWLRQVKDOOEHILOHGE\
                   December 13, 2021;
                  

                  x $Q\UHSOLHVVKDOOEHGXH December 20, 2021.

      ,7,66225'(5('

                                                    

      5HVSHFWIXOO\VXEPLWWHGE\
   
      $7.,1621/$:$662&,$7(6/7'

      %\V&ODULVVH&ULVRVWRPR             

           &/$5,66(/&5,6267202(64
        1HYDGD%DU1R
           Attorney for Robert E. Atkinson, Trustee
   















                                                          
